Case 8:17-CV-00119-I\/|SS-TGW Document 1-1 Filed 01/17/17 Page 1 of 9 Page|D 7

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Primary Contacl: Tonya Edwards
Capita| One Servioes
15000 Capital One Drive
Richmond, VA 23238

 

Entity: Capitai One Bank (USA), N.A.
Entity |D Number 1634828

Entity Served: Capita| One Bank (USA). N.A

Tll|e of Action: Robert Terwl|iiger vs. Capita| One Bank (USA), N.A.

Dooument(s) Type: Summons/Complaint

Nature of Aclion: Viofalion of Slale/Federai Act

CouruAgency: Hillsborough County Courl, F|orida

CaselReference No: 16-CC-041369

Jur|sdlotion Served: Virginia

Date Served on CSC: 12!27/2016

Answer or Appearance Due: 20 Days

Originally Served On: CSC

How Serveci: Personai Service

Sender lnformalion: Ryan C. Torrens

813-260-4883

 

information contained on this transmittal form is for record keeping, notification and forwarding the attached documenl(s). ll does not
constitute a legal opinion. The recipient is responsible for interpreting me documents and taking appropriate actionl

'l'o avoid potential delay, please do not send your response to CSC
2711 Ceniervi|le Road Wilmington, DE 19808 (888) 690-2882 | sop@cscg|oba|.com

 

 

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IN THE COUNTY COURT IN ANI)_ FOR HILLSBOR()UGH COUNTY, FLORIDA
CIVIL DlVISION

CASE NO. 16=CC~041369 Divlsion ltd

ROBERT TERWILLIGER
Plaintiff
vs

CAPI'I`AL ONE BANK (USAl. N.A
Det`enclant -
SUMMONS

THE STATE OF PLORlDA:
'I`O EACH SHERIFF OF THE STATE:

YOU ARE COMMANDE}) to serve this summons and a copy of the complaint or petition in
this action on the Defenclant(s) whose name and a :_ ' . .:

 
 
 

 

C/O l = ORATION §ERVICE COthANY
1100 E MAm ST
SUITE 1600
RICHMOND VA 23218

Each Defendant is required to serve written defenses to the complaint or petition on Plaintitt"s
attorney, whose name and address is:

Printed: RYAN CH.RISTOPHER TORRENS
Attorney for :ROBERT TERW'ILL!GER
Address: TORRENS LAW GROUP PA -
100 S ASHLEY DR STE 450

TAMPA FL 33602

Flor'ida Bar No. 89407

 

If you are a person With a disability who needs any accommodation in order to
participate in this proceeding, you are entitled, at no cost to you, to the provision of
certain assistance Please contact the ADA Coordinator, Hillsl)orough County
Courthouse, 800 E. Twiggs St., Room 604, Tampa, Florida 33602, (813) 272-7048, at
least 7 days before your scheduled court appearance, or immediately upon receiving
this notification if the time before the scheduled appearance is less than 7 days; if you
are hearing or voice impaired, call 711.

 

 

 

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within 20 days after service of this summons on that defendant, exclusive of the day or serviee, and to file the
original of the defenses with the clerk of this court either before service on Plaintii`f"s attorney or immediately
thereafter. lt` a Dei`enrlant fails to do so, a default will be entered against that defendant for the relief demanded

in the complaint or petition

I)ATED on December 19 2016.

 

        

 

PAT FRANK
As Clerk of the Court
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Dana Caranante, Deputy Clerk
Prepared by Sylvia Young, Deputy Clerk

(813) 276-8100, ext. 4362

PAT FRANK
As Clerk of the Court

Civil Division
P.O. Box 3360
'l`ampa, Florida 33601

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_ Case 8:17-cV-OOll9-I\/|SS-TGW Document 1-1 Filed 01/17/17 Page 5 of 9 Page|D 11
Flied by eFiteMadeEasy.com al 4203 F’M Friday, Decernber 16, 2016 F’orta| Fi|ing # 50171289

IN 'I`HE COUN'I`Y COURT OF THE THIRTEENTH JUDICI.AL CIRCUIT
IN ANI) FOR HILLSBOROUGH COUNTY, FLOR]])A

CIVIL DIVISION
ROBERT TERWLLLIGER,
'Plaintiff, CASE NO.:
' D[VISION:

v.
CAPITAL ONE BANK (USA), N.A.,

Defendant.
/

COMPLAIN'I` AND DEMAND FOR JURY 'I‘RIAL
Plaintif`r`, ROBERT TERWILLIGER (“Plaintift”), by and through the undersigned counsel,
hereby sues Defendant, CAPITAL ONE BANK (USA), N.A., (“Defendant”), and alleges and
affirmatively states as follows:

INTRODUCTION

 

1. Count l of Plaintiff's Compiaint is based on the Telephone Consumer Protection
Act, 28 U.S.C. § 227 et seq. ('I`CPA). q

2. Count ll of Plaintiff’s Complaint is based upon the Florida Consurner Colleetions
Practices Act, §559.55, et seq, (“FCCPA”).

JURISDICTION AND VENUE

3. Jurisdiction of this court arises under the TCPA, as the federal and state courts
share consonant jurisdiction over TCPA claims. Jurisdiction over the FCCPA claim arises under
Chapter 559.55(2), Florida Statutes.

4, This is an action for damages of more than Five Thousand Dollars ($5,000.00) but

less than Fifteen Thousand Doliars (315,000.00), exclusive of interest, costs and attorney’s fees.

 

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5. Because Defendant conducts business in the State ofFlorida, personal jurisdiction

is established

6. The alleged violations described in this Complaint occurred in Hillsborough

County, Fiorida, where the Plaintiff resides

 

M.H_E§
'7. Plaintiff is a natural person who resides in Hillsborough County, Florida. Plaintift`

is a debtor and/or alleged debtor as defined by Chapter 559.55(2), Florida Statutcs.

8. Defendant Capital One Bank (USA), N.A. is a nationally chartered bank and
wholly-owned subsidiary of Capital One Financial Corporation, with its principal place of
business in Glen Ailen, Virginia.

9. Dcfendant is the original creditor for the alleged debt, which is an alleged credit
card debt. The TCPA and FCCPA apply to original creditors

10. Defendant is a corporate entity responsible for attempting to collect a consumer
debt from Plaintift` and is transacting business in the State of Florida. Defendant is engaged in
substantial and not isolated activity within the State of Florida. Det`endant has purposely niade
contacts in the State of Florida, including with the Plaintiff, and should reasonably anticipate being
haled into court in Florida.

FACTUAL ALLEGATIONS

l 1. Defendant consented to and has knowledge and control of the collection activities
of its agents and representatives, including supervisors, managers, aft'tliates, subsidiaries,
divisions, employees, servants, partners, agents, vendors, assignees, transferees, collectors, and/or
contractors

12. Within the last year, Defendant attempted to collect a consumer debt from Plaintiif.

13. Defenda.nt acted through its agents, employees, ofticers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

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14. ln or around June of 2016, i`)efendant began placing telephone calls to Plaintifi` in
an attempt to collect a consumer debt

15. Plaintift"s alleged debt arises from transactions for personal, family, and household
purposes

l6. Upon information and belief, each of Det`endant’s calls were placed with an
automated telephone dialing system (“auto-dialer”) or an artificial or prerecorded voice. Plaintifl`
alleges that on .lune l 1, 2016, a manager employed by Defendant stated, over the phone, that the
Det`endant had been calling the Plaintiff" s cellular phone with an auto-dialer.

l7, Defendant placed calls to Plaintiff"s cellular telephone at 813-735-57?5. Plaintiff
is both the subscriber and account holder for the cellular phone service for this particular cellular
phone.

18. Defendant placed calls from phone numbers including, but not limited to, 1-800-
955-6600.

19. On June ll, 2016, Plaintiff spoke with Defendant’s representative and requested
that Defendant cease calling his cellular telephone

20. Plaintiff revoked any consent, express or implied, to receive automated collection
calls from Defendant.

21. Despite Plaintit`t` s request to cease, Defendant continued to knowingly and!or
willfully place at least five (5) automated collection calls to Plaiotiff. Alternatively, Plaintiff
alleges that the Defendant continued to negligently place at least five (5) automated collection
calls to Plaintiff, including but not limited to the following:

0 June ll, 2016: one (1) call;
- June 25, 2016: one (1) call;
¢ ]une 26, 2016: one (l] call;
¢ June 2'7, 2016: one (l) call;

 

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22. The phone calls made to Plaintiff’s cellular phone after the Plaintift` requested the
Defendant to cease such calls were annoying and harassing to the Plaintifl`. The phone calls which
were made wasted time of the P_laintiff in addressing the incoming calls. Further, the calls to the
Plaintiff made the Plaintift’ s cellular phone otherwise unavailable for legitimate use during the

time of the unwanted calls

- COUNT l
DEFENDANT VIOLA'I`ED THE TELEPHONE CONSUIVIER PROTE(`."I`ION ACT

23. Plaintiffre-alleges and incorporates paragraphs one (l) through twenty-two (22) by
reference as though fully set forth herein.

24. Defendant’s actions alleged supra constitute numerous negligent violations of the
TCPA, entitling Plaintiff to an award of $500.00 in statutory damages for each and every
violation pursuant to 47 U.S.C. § 227(b)(3)(B).

25. Defendant’s actions alleged supra constitute numerous and multiple knowing and/or
willful violates ot` the TCPA, entitling Plaintiff to an award of 51500.00 in statutory damages for
each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

WHEREFORE, Plaintiff respectlillly prays that judgment be entered against the
Dei`endant for the following:
26. Statutory damages of $500.00 for each and every negligent violation of the TCPA
pursuant to 47 U.S.C. § (b)($)(B);
27. Statutory damages of $1 500.00 for each and every knowing and/or willful violation
of the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);
28. All court costs, witness fees and other fees incurred; and

29. Any other relief that this Honorable Court deems appropriate

 

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COUN'I` II
`VIOLATION ()F 'I`HE FLORII)A CONSUM_ER COLLECTI()NS PRAC'I`ICES ACT

(“FCCPA”)

30. Plaintitl` re-alleges and incorporates paragraphs one (l) through twenty-nine (29)
by reference as though fully set forth herein.

31. Defendant violated FCCPA § 559.72(7) by Willfully engaging in conduct which
can reasonably be expected to abuse or harass the debtor.

WHEREFORE, Plaintiff demands judgment against Defendant for statutory damages in
the amount of $l,000.00, attorney’s fees and costs, and any other such relief this Honorable Cou.rt
deems just and proper.

DEMANI) FOR JUl{Y TRIAL
PLEASE TAKE NO’I`[CE that Plaintiff, ROBERT TERWILLIGER hereby demands trial

by jury in this action.

RESPECTFULLY SUBMITTED,

TORRENS LAW GROUP, P.A.
100 S. Ashley Drive

Suite 450

Tampa, FL 33602

Tel: 813-260-4883

Fax: 813-354-2357

By: /s/Rvan C. Ton'ens; Esa.
"Ryan C. Torrens, Esq.

Florida Bar No. 0089407

Counsel for Plainlz'j`

 

